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                                    UNITED STATES DISTRICT COURT
           17
                          CENTRAL DISTRICT OF CALIFORNIA - SOUTHERN DIVISION
           18
           19       MASIMO CORPORATION,                           CASE NO. 8:20-cv-00048-JVS (JDEx)
                    a Delaware corporation; and
           20       CERCACOR LABORATORIES, INC.,                  APPLE’S MEMORANDUM IN
                    a Delaware corporation,                       SUPPORT OF ITS MOTION TO
           21                                                     EXCLUDE OPINIONS AND
                                       Plaintiffs,                TESTIMONY OF PLAINTIFFS’
           22                                                     EXPERT JEFFREY KINRICH
                          v.                                      UNDER FRCP 37 AND/OR DAUBERT
           23
                    APPLE INC.,
                    a California corporation,                     Date: February 6, 2023
           24
                                                                  Time: 1:30pm
           25                          Defendant.
                                                                  Pre-Trial Conference: Mar. 13, 2023
           26
                                                                  Trial: Mar. 28, 2023
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             1                                         INTRODUCTION
             2            This Court should exclude the lost profits and unjust enrichment opinions of
             3      Plaintiffs’ damages expert Jeffrey Kinrich—both because they rely on information and
             4      opinions already excluded by the Court and because they are based on an unreliable
             5      methodology that fails to assign damages based on the purported harm caused by
             6      Apple’s alleged misappropriation.
             7            First, Kinrich’s lost profits and one of his unjust enrichment theories are
             8      predicated on (1) his assumption that but for Apple’s alleged misappropriation,
             9      Plaintiffs would have developed a hypothetical health module for incorporation into
           10       Apple Watch            and (2) the cost estimates for that module. But the Court
           11       previously excluded all the sources for Kinrich’s assumptions—namely opinions and
           12       analyses of Masimo employees Bilal Muhsin and Richard Priddell—as untimely
           13       disclosed. Dkt. 1031 at 10. Following this Court’s ruling, Plaintiffs served a woefully
           14       untimely “Supplemental” Report from Kinrich that attempts to end-run this Court’s
           15       order by citing to “conversations” with Muhsin and Priddell and the cost estimates they
           16       generated rather than the disclosures themselves. These changes in attribution do not
           17       alter the fact that Kinrich’s opinions are still premised on the same hypothetical
           18       opinions and made-for-litigation analyses this Court struck.
           19             Second, this Court should exclude all of Kinrich’s lost profits and unjust
           20       enrichment theories because they fail to differentiate among the twenty-nine currently-
           21       asserted secrets. Kinrich opines that the amount of lost profits or disgorgement Apple
           22       owes is the same regardless of whether Apple is found to have misappropriated one
           23       purported secret or all of them, and regardless of what use or benefit, if any, Plaintiffs
           24       allege Apple received from the alleged secret(s). By definition, this methodology is
           25       unreliable as it ignores the requirement that any harm or unjust enrichment must be
           26       substantially caused by the alleged misappropriation.
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             1                                           BACKGROUND
             2            A.     Plaintiffs Produce Untimely Cost Analyses And Rule 26(a)(2)(C)
             3                   Disclosures Containing Undisclosed Damages Theories
             4            On August 18, 2022, six days after the close of fact discovery, Plaintiffs
             5      produced fifteen documents, including fourteen spreadsheets, bearing the Bates
             6      numbers MASA03583610 through MAS03583633. Ex. 1 at 3. Apple immediately
             7      inquired as to the justification for Plaintiffs’ late production. Id. at 1-2. Plaintiffs’
             8      counsel responded: “The documents produced [on August 18] were an update to an
             9      analysis that Masimo previously conducted and produced. This is not an analysis that
           10       Masimo performs in the ordinary course of business, nor are the documents produced
           11       kept in the ordinary course of business. Rather this analysis was done for this
           12       litigation as part of expert discovery.” Id. at 1.
           13             On September 23, 2022, Plaintiffs served FRCP 26(a)(2)(C) disclosures for
           14       Richard Priddell and Bilal Muhsin. Dkt. 959 at 5. Priddell’s and Muhsin’s disclosures
           15       both discuss a nonexistent, hypothetical future product that they called the “Masimo
           16       Health Module.”
           17             Muhsin hypothesized that, had Masimo                                       , Masimo
           18       could have manufactured the hypothetical module                            the schedule on
           19       which it actually manufactured its W1 smartwatch, Masimo’s first (and only) product
           20       with a wrist-based sensor. See Dkt. 959 at 12.
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           25                                                               Id. ¶¶16-17. As part of his
           26       analysis, Muhsin identified thirteen of the spreadsheets produced on August 18 and
           27       indicated that they were updates to earlier versions of a costs analysis. Id. ¶¶18-26.
           28
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             1               Priddell’s disclosure likewise describes the analyses he was asked to conduct
             2      related to the hypothetical module. See Dkt. 959 at 8.
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           14                On September 30, 2022, Apple sent Plaintiffs a letter detailing its objections to
           15       the Priddell and Muhsin disclosures. Dkt. 959-7. As discussed below, Apple later
           16       successfully moved to strike these disclosures. See infra pp. 7-8.
           17                B.    Kinrich’s Expert Report Relies On The Untimely Priddell And
           18                      Muhsin Disclosures
           19                On October 6, 2022, Plaintiffs served Kinrich’s report regarding purported lost
           20       profits, unjust enrichment, and reasonable royalty damages.2 As to lost profits, Kinrich
           21       opined that Plaintiffs are entitled to either $2.1 billion or $3.7 billion (depending on
           22       whether the award is U.S. or worldwide) resulting from Masimo’s purported lost sales
           23       of the non-existent, hypothetical sensor module that Muhsin and Priddell assumed
           24
                    1
           25           MASA03583619 was produced on August 18. See Ex. 1 at 3.
                    2
           26         Plaintiffs served an “Updated Report” from Kinrich on October 17, 2022. Although
                    the “Updated Report” made numerous changes to Kinrich’s calculations, it suffers
           27       from the same problems as the October 6, 2022 report that are described in this motion.
                    For clarity, Apple cites to the October 17, 2022 report.
           28
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             1      Plaintiffs would have offered to Apple, and Apple would have agreed to purchase, for
             2      incorporation into Apple Watch. Ex. 4 ¶8; Ex. 5. To reach this high dollar range,
             3      Kinrich was “asked to assume that, but for the misappropriation, Apple would have
             4      engaged Masimo to supply components and software embodying the Trade Secrets[.]”
             5      Ex. 4 ¶62; see also id. ¶¶61, 63. Kinrich’s but-for analysis then relied entirely on
             6      Muhsin’s hypothetical opinion that Plaintiffs were
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           10                                                                  More specifically, Kinrich
           11       relied on the opinions in Muhsin’s disclosure that Masimo
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           21                               .3
           22                Having assumed—based on Muhsin’s hypothetical opinions—that Masimo
           23       could have manufactured a sensor module for Apple and on what timeline it would
           24       have done so, Kinrich then
           25                                                            . Ex. 4 ¶88. Kinrich’s approach to
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           27       3
                        All emphases added unless otherwise noted.
           28
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             1   estimating development costs also relies on the opinions from Muhsin’s disclosure (id.
             2   ¶¶90-91 & nn.231-232), and his
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           14    Finally, Kinrich applied a mark-up to the estimated per unit costs to opine on the price
           15    at which he believes Apple would have purchased the hypothetical module (Ex. 4
           16    ¶¶102-109) and, ultimately, Masimo’s alleged lost profits from those purchases (id.
           17    ¶¶122-123).
           18           As to unjust enrichment, Kinrich provided two theories, the first of which
           19    attempts to estimate Apple’s alleged cost savings from developing its own sensor
           20    module instead of purchasing the hypothetical Masimo Health Module. Ex. 4 ¶143.
           21    This theory of unjust enrichment relies on the same “but for” assumptions as Kinrich’s
           22    lost profits opinion. See Ex. 6 at 209:17-211:8; supra pp. 3-4. It also relies on the
           23    same costs of the hypothetical Masimo module as his lost profits opinion—i.e., the
           24    analyses described in Muhsin’s and Priddell’s disclosures. Ex. 4 ¶¶143-145; supra pp.
           25    2-3.
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             1
             2                                                                             . Building on
             3   Priddell’s and Muhsin’s (now stricken) analyses, Kinrich opines that Apple’s cost
             4   savings resulted in unjust enrichment of between $3.2 and $6.8 billion. Ex. 4 ¶145;
             5   Ex. 5.
             6            Kinrich’s alternative measure of unjust enrichment (which does not rely on the
             7   stricken disclosures) purports to calculate the profit attributable to the Blood Oxygen
             8   feature and the ECG feature in Apple Watch Series 6 and Series 7. Kinrich opines all
             9   such profits—between $1.4 billion in the U.S. and $3.1 billion worldwide—constitute
           10    Apple’s unjust enrichment. Id. ¶163.
           11             C.    Kinrich’s Opinions Fail To Account For The Number Or Type Of
           12                   Purported Secrets Misappropriated—Or The Type Of
           13                   Misappropriation
           14             None of Kinrich’s lost profits or unjust enrichment opinions vary based on the
           15    extent of alleged misappropriation; he opines that Plaintiffs’ purported lost profits and
           16    Apple’s alleged unjust enrichment would be identical whether Apple is found to have
           17    misappropriated one trade secret or all asserted secrets. Ex. 6 at 73:22-74:5
           18
           19                                                              ; see also Ex. 4 ¶¶64, 141.
           20             Throwing causality out the window, Kinrich’s opinions similarly do not vary
           21    based on which alleged secrets the jury may find misappropriated (e.g., whether the
           22    purported secret involves a                                             ) or how—if at
           23    all—Apple is alleged to have used the secret. Ex. 6 at 76:14-17
           24
           25                                               . Despite Plaintiffs’ accusation that Apple
           26    misappropriated over two dozen secrets, Kinrich acknowledged that Plaintiffs’
           27    technical expert alleged that Apple used at most three of the alleged secrets and only
           28
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             1   one in Apple Watch. Ex. 4 ¶¶17-22; Ex. 6 at 89:16-20
             2
             3                                                               And he formed his damages
             4   opinions without even identifying any specific non-technical trade secrets, let alone
             5   any alleged use of those secrets. Id. at 93:22-94:4.
             6         Finally, Kinrich has acknowledged that his damages opinions would not change
             7   depending on the type of misappropriation. Ex. 6 at 76:18-22
             8
             9                                                           ); see also id. 96:8-11, 97:14-19
           10    (Kinrich agreeing that he had not offered any damages opinions specific to “
           11                                       ” of the purported secrets).
           12          D.     This Court Holds That The Priddell And Muhsin Disclosures Violate
           13                 FRCP 26
           14          On November 22, 2022, this Court struck the Muhsin and Priddell disclosures—
           15    both because (per FRCP 26(a)(2)) they exceeded the scope of the witnesses’ percipient
           16    knowledge and because (per FRCP 26(e)) they relied on facts not disclosed in
           17    discovery. Dkt. 1031 at 5-6, 8-9. In doing so, this Court rejected Plaintiffs’ attempt to
           18    “backdoor their damages case through piecemeal written disclosures …, especially
           19    where those disclosures contain previously undisclosed, fully-formed damages theories
           20    … [and] rely on newly disclosed factual information.” Id. at 10.
           21          As to FRCP 26(a)(2), this Court held that Muhsin’s opinions regarding “the
           22    hypothetical scenario” wherein
           23
           24                      exceeded his percipient knowledge. Dkt. 1031 at 6. The Court
           25    further held that “the cost-estimate opinions in Muhsin’s disclosure were clearly
           26    prepared in connection with this litigation and in preparation for trial,” and those too
           27    “go far beyond ‘historical opinions’ of a percipient employee witness[.]” Id. The
           28
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             1   Court excluded Muhsin’s opinions regarding
             2                                                                     under FRCP 26(e)
             3   because they “provide new factual information in the form of a fully formed damages
             4   theory that should have been disclosed before the close of fact discovery.” Id. at 9.
             5         This Court similarly found that the “vast majority” of Priddell’s disclosure
             6   “exceeds his percipient knowledge as a design engineer at Masimo” in violation of
             7   FRCP 26(a)(2). Dkt. 1031 at 5-6. The Court excluded Priddell’s “litigation-driven
             8   opinions” regarding:
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           12                                                           Id. The Court also excluded
           13    Priddell’s “analysis of the Apple Watch ‘teardown’” under FRCP 26(e) because it was
           14    new factual information that should have been disclosed before the close of fact
           15    discovery. Id. at 8. The Court also noted that Plaintiffs never identified Priddell as
           16    knowledgeable about Plaintiffs’ damages claims. Id.
           17          E.     Plaintiffs Serve A “Supplemental” Kinrich Report
           18          On November 30, 2022, Plaintiffs served a document labeled “Supplemental
           19    Expert Report of Jeffrey H. Kinrich,” which purports to “apply [Kinrich’s]
           20    methodology and analysis as set forth in [his] October 2022 Report without relying on
           21    one or more portions of the disclosures of Richard Priddell and/or Bilal Muhsin.” Ex.
           22    7 ¶1. Plaintiffs neither asked this Court for leave to serve such a report nor informed
           23    Apple that they planned to do so ahead of time. And Kinrich admitted during his
           24    deposition that the “supplemental report was in response to the court’s order regarding
           25    the disclosures of Mr. Priddell and Mr. Muhsin.” Ex. 6 at 15:3-20.
           26          Although purportedly trying to circumvent the Court’s order, Kinrich’s damages
           27    theories in the “Supplemental Report” are still predicated on Muhsin’s stricken
           28
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             1   opinions regarding the hypothetical scenario in which Masimo
             2
             3                                        Ex. 7 ¶6. Kinrich relies on a conversation with
             4   Muhsin—instead of the Muhsin disclosure—wherein Muhsin provided the same
             5   hypothetical opinions as in his disclosure. Id. As for his lost profits analysis, to
             6   calculate development costs of the hypothetical module in the Supplemental Report
             7   Kinrich continues to rely on documents Muhsin identified as part of his disclosure.
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           19          As to his unjust enrichment analysis, the Supplemental Report introduces a new
           20    opinion that Kinrich “
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           25          On December 2, 2022, Apple filed an ex parte application to strike Kinrich’s
           26    Supplemental Report. Dkt. 1053-1. The Court denied Apple’s application without
           27    prejudice, finding “the issues raised are more properly addressed in a motion to strike
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             1   and/or excluded filed in conjunction with Apple’s summary judgment motion.” Dkt.
             2   1068 at 1.
             3                                         ARGUMENT
             4   I.    KINRICH’S LOST PROFITS OPINIONS AND UNJUST ENRICHMENT “COST
             5         SAVINGS” OPINION SHOULD BE STRUCK
             6         A.     The Lost Profits And “Cost Savings” Analyses Are Premised On
             7                Material That This Court Excluded
             8         Because Kinrich’s lost profits and “cost savings” unjust enrichment opinions are
             9   predicated on excluded opinions and analyses performed by Muhsin and Priddell, they
           10    lack the basis in sufficient facts, data, and reliability necessary to survive a Daubert
           11    challenge. See Daubert v. Merrell Dow Pharms., Inc., 509 U.S. 579 (1993); Fed. R.
           12    Evid. 702; see also Abarca v. Merck & Co., 2010 WL 4643642, at *4 (E.D. Cal. Nov.
           13    9, 2010) (“It is an abuse of discretion to admit expert testimony which is based on
           14    assumptions lacking any factual foundation in the record”).
           15           “[A]n expert whose proffered testimony relies on another expert’s theories that
           16    have been or may be excluded as unreliable should also be excluded” under Daubert
           17    and FRE 702. San Francisco Baykeeper v. City of Sunnyvale, 2022 WL 4133299, at
           18    *10 (N.D. Cal. Sept. 12, 2022); accord In re Cathode Ray Tube (CRT) Antitrust Litig.,
           19    2017 WL 10434367, at *2 (N.D. Cal. Jan. 23, 2017) (similar); M2M Solutions, LLC v.
           20    Motorola Solutions, Inc., 2016 WL 767900, at *7 (D. Del. Feb. 25, 2016) (excluding
           21    damages experts opinion because it was “based solely upon the unsupported opinion”
           22    of an excluded expert and “[w]ithout [the excluded] conclusions, that foundation
           23    crumbles”). This is because when the “soundness of the underlying expert judgment is
           24    in issue, the testifying expert cannot merely act as a conduit for the underlying expert’s
           25    opinion.” In re Toyota Motor Corp. Unintended Acceleration Mkg., Sales Pracs., &
           26    Prods. Liab. Litig., 978 F. Supp. 2d 1053, 1066 (C.D. Cal. 2013).
           27          This Court excluded the following opinions offered by Muhsin and Priddell:
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           14          Plaintiffs cannot seriously dispute that Kinrich’s October report relies on each of
           15    the stricken points mentioned above to estimate Plaintiffs’ lost profits and Apple’s
           16    alleged “cost savings.” The predicate for both theories is Muhsin’s opinion regarding
           17    what Masimo supposedly would have done                                         and
           18    when it would have done so. See supra pp. 3-6. Kinrich prefaces his lost profits
           19    analysis by stating he understands
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           26                                         Kinrich then relies on Muhsin’s opinions that
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             4                                                        . Id. ¶¶90-94; see also Ex. 8. Next,
             5   Kinrich takes from Priddell’s disclosure the
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             8         Kinrich also uses Priddell’s disclosure to identify
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           14          In his cost savings analysis, Kinrich again begins with Muhsin’s opinion that
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           18                                                                       accord Ex. 6 at
           19    205:1-17. Kinrich then uses Priddell’s analysis of
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           21                                 Ex. 4 ¶¶144-45. Combining these assumptions, and again
           22    using the same cost estimates provided by Muhsin and Priddell as in his lost profits
           23    calculation, Kinrich then calculates Apple’s alleged cost savings. See supra pp. 5-6.
           24          Muhsin’s and Priddell’s untimely disclosed opinions “provide[d] the
           25    foundation” for Kinrich’s lost profits and cost savings analyses; without those
           26    opinions, the “foundation crumbles” and Kinrich’s “damages testimony must be
           27    excluded as well.” See M2M Solutions, 2016 WL 767900, at *7; see also
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             5            B.    Kinrich’s Supplemental Report Still Relies On Stricken Opinions
             6                  And Analyses
             7            Despite this Court’s ruling striking the Priddell and Muhsin disclosures, the
             8   Supplemental Report relies on theories taken from the stricken disclosures with only
             9   the slightest of tweaks.
           10             1.    As to Muhsin, the Supplemental Report’s discussion of the time it would
           11    have taken Masimo to develop the hypothetical module is perhaps the most blatant
           12    example: Kinrich merely states that his opinions on the time to develop the
           13    hypothetical module are “the same as in my October Report,” citing to an unrecorded
           14    “conversation” with Muhsin rather than his disclosure. See Ex. 7 ¶6;
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           19                                                 Kinrich confirmed that he has no
           20    independent opinion as to Masimo’s timing for developing the hypothetical sensor (Ex.
           21    6 at 188:4-8), and that the opinion he relies on from his conversation with Muhsin is
           22    identical to the one Muhsin expressed in his disclosure. Id. at 188:9-20. This timeline
           23    is foundational to the “but for” world that underlies both Kinrich’s lost profits and cost
           24    savings analyses in the Report, and both analyses should be stricken for this reason
           25    alone.
           26             Kinrich’s continued reliance on the stricken information does not stop there.
           27    When discussing development costs, the Supplemental Report cites a “conversation
           28
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             1   with Bilal Muhsin” to justify concluding that
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             3                                                   Ex. 7 ¶¶7-8. The development cost
             4   calculations in the Supplemental Report continue to rely on the analyses supervised by
             5   Muhsin. See supra pp. 4-5.
             6         2.    As to Priddell, Kinrich continues to depend on the same
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                 APPLE’S MEM. ISO MOT. TO EXCLUDE OPINIONS AND TESTIMONY OF JEFFREY KINRICH
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             1                       .4 Kinrich’s approach is impossible to square with this Court’s ruling
             2   that Priddell could not permissibly testify on
             3                                                                    Dkt. 1031 at 5-6.
             4            3.    Plaintiffs have suggested that Kinrich’s Supplemental Report is
             5   unaffected by this Court’s FRCP 26 decision because the Report does not depend on
             6   “Muhsin and Priddell testifying as experts.” Dkt. 1059-2 at 6. Even if that were true,
             7   it would not permit Kinrich to rely on the same late-disclosed information at issue in
             8   those disclosures—a point that Apple raised in its ex parte application. See supra p. 9.
             9   Plaintiffs had no answer.
           10             Plaintiffs further argue that Kinrich is permitted to “rely on facts not admitted
           11    into evidence” and that he “formed his own opinions based on facts on which experts
           12    regularly rely.” Dkt. 1059-2 at 6. But Plaintiffs do not identify the permissible “facts”
           13    on which Kinrich purportedly relies.
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           18                                                        Indeed, Plaintiffs have explicitly
           19    represented that these cost reports (and other cost analyses described in Muhsin’s
           20    disclosure) were “not an analysis that Masimo performs in the ordinary course of
           21    business, nor are the documents produced kept in the ordinary course of business” but
           22    rather part of an analysis “was done for this litigation as part of expert discovery.” Ex.
           23    1 at 1. Kinrich should not be permitted to circumvent the Court’s Order simply by
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                 4
           25      Other aspects of the Supplemental Report also acknowledge that Kinrich considered
                 the stricken Priddell disclosure in forming his damages calculations. See Ex. 7 at
           26    Exhibit 1.A1-B1 (lost profits); id. at Exhibit 3.A1 (“
                             ”).
           27
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             1   recasting Priddell’s stricken analysis as “ordinary course of business” documents,
             2   particularly where the record refutes that description.
             3         C.     Kinrich’s Supplemental Report Should Also Be Struck As Untimely
             4                1.    The November 30, 2022 Report Violates FRCP 26(e)
             5         The lost profits and cost savings opinions in Kinrich’s Supplemental Report
             6   should be struck not only because they rely on information that has been excluded as
             7   untimely disclosed but because those opinions themselves were untimely. FRCP 26(e)
             8   “creates a ‘duty to supplement,’ not a right” and does not “create a loophole through
             9   which a party who … wishes to revise her disclosures in light of her opponent’s
           10    challenges to the analysis and conclusions therein, can add to them to her advantage
           11    after the court’s deadline for doing so has passed.” Luke v. Fam. Care & Urgent Med.
           12    Clinics, 323 F. App’x 496, 500 (9th Cir. 2009); accord Windeler v. Cambria
           13    Community Servs. Dist., 2021 WL 5411887, at *5 (C.D. Cal. Oct. 19, 2021) (same).
           14          The parties agreed that expert reports on damages would be served on October
           15    6, 2022 and rebuttal reports by November 17, 2022. Dkt. 1029-3 at 900. Plaintiffs
           16    sought neither to reach agreement with Apple nor permission from this Court before
           17    serving the Supplemental Report. But Kinrich’s opinions in the Supplemental Report
           18    could have been included in the original October report—particularly given that
           19    Plaintiffs were on notice of Apple’s objections to the Priddell and Muhsin disclosures
           20    six days before the original report was served. See supra p. 3. Indeed, Kinrich
           21    repeatedly states that the Supplemental Report is “based on” or “relie[s] on”
           22    information referenced in the October 2022 Report. See, e.g., Ex. 7 ¶¶2-4, 6, 7; see
           23    also Dkt. 1059-2 at 2
           24
           25          Plaintiffs have previously argued that courts “routinely” permit an expert to
           26    supplement his or her report in light of new information. See Dkt. 1059-2 at 3. But it
           27    is well-established that supplementation is not a permissible “way to remedy a
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             1   deficient expert report.” Rojas v. Marko Zaninovich, Inc., 2011 WL 4375297, at *6
             2   (E.D. Cal. Sept. 19, 2011). “Supplementation … means correcting inaccuracies, or
             3   filling the interstices of an incomplete report based on information that was not
             4   available at the time of the initial disclosure.” Reinsdorf v. Skechers U.S.A., 922 F.
             5   Supp. 2d 866, 880 (C.D. Cal. 2013) (internal quotations and citation omitted). To
             6   interpret FRCP 26(e) to cover “‘failures of omission because the expert did an
             7   inadequate or incomplete preparation’” would “essentially allow for unlimited
             8   bolstering of expert opinions,” id., which in turn would “‘interfere with the Court's
             9   ability to set case management deadlines’” and “‘hinder … final disposition of the
           10    case,’” Rojas, 2011 WL 4375297, at *6; accord Reinsdorf, 922 F. Supp. 2d at 880
           11    (duty to supplement does “not give license to sandbag one’s opponents”).
           12                  2.    The Proper Remedy For Plaintiffs’ FRCP 26(e) Violation Is To
           13                        Strike The Entire Supplemental Report
           14          FRCP 37(c)(1) requires “automatic exclusion” of material that was not timely
           15    disclosed under FRCP 26 unless the non-moving party can show that “the failure to
           16    disclose was either substantially justified or harmless.” E.g., Luke, 323 F. App’x at
           17    498-499; see also Merchant v. Corizon Health, Inc., 993 F.3d 733, 740 (9th Cir. 2021).
           18    Plaintiffs cannot meet their burden.
           19          As to substantial justification, Plaintiffs have previously argued that they were
           20    permitted to serve the Supplemental Report because they had no way of knowing that
           21    Apple intended to challenge the Priddell and Muhsin disclosures. Dkt. 1059-2 at 4, 5.
           22    Again, this is false: Apple sent Plaintiffs a letter detailing its objections to those
           23    disclosures nearly a week prior to the service of Kinrich’s October 6, 2022 report. See
           24    supra p. 3.
           25          As to harmlessness, the Supplemental Report is highly prejudicial to Apple
           26    because it attempts to resurrect several damages theories that appear in the October
           27    Kinrich report that rely on Rule 26(a)(2)(C) disclosures that this Court has held were
           28
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             1   improper and should be excluded—and as discussed above, continues to rely on the
             2   same “fully formed damages theories” on which Apple was deprived of full and fair
             3   discovery. See Dkt. 1031 at 10-11; see also supra pp. 7-8.
             4   II.      THIS COURT SHOULD EXCLUDE ALL OF KINRICH’S LOST PROFITS AND
             5            UNJUST ENRICHMENT OPINIONS BECAUSE THEY LACK ANY RELIABLE
             6            CONNECTION TO APPLE’S PURPORTED MISAPPROPRIATION
             7            Under the California Uniform Trade Secrets Act, Plaintiffs may only recover
             8   unjust enrichment or lost profits damages for harm “caused by” the misappropriation.
             9   Cal. Civ. Code § 3426.3(a). Accordingly, Plaintiffs must show that Apple’s
           10    “acquisition, use, or disclosure of the trade secret[s] was a substantial factor in causing
           11    the plaintiff harm.” AMN Healthcare, Inc. v. Aya Healthcare Services, Inc., 28 Cal.
           12    App. 5th 923, 842 (2018).
           13             Kinrich has failed to comply with that legal standard. First, he does not
           14    distinguish between the damages that would be awarded if Apple is found to
           15    misappropriate one trade secret, five secrets, or all twenty-nine that remain. Ex. 6 at
           16    74:2-5. Instead, he opines that Plaintiffs are entitled to the same amount of lost profits
           17    and unjust enrichment awards regardless of “whether Apple is found liable for
           18    misappropriating one or more the Trade Secrets.” Ex. 4 ¶¶64, 141.5
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           23                                                                     Kinrich’s damages
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           25    5
                   Kinrich’s reasonable royalty analysis is not addressed in this motion, as the Court has
           26    ordered that the reasonable royalty can be determined, if necessary, after the upcoming
                 trial, and discovery regarding that analysis is ongoing. Dkt. 1071. Apple reserves the
           27    right to challenge Kinrich’s reasonable royalty opinions after discovery on those
                 opinions is completed.
           28
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             1   analysis is thus fundamentally unreliable because it does not evaluate—or give the jury
             2   any way to evaluate—the supposed harm caused by Apple’s alleged misappropriation
             3   if Apple is found to misappropriate fewer than all purported trade secrets. See Shell &
             4   Slate Software Corp. v. Adobe Sys. Inc., 2004 WL 5486635, at *1 (C.D. Cal. Sept. 17,
             5   2004) (excluding similar unjust enrichment opinion in trade secret case as “inherently
             6   unreliable and speculative”).
             7         The court’s decision in LivePerson, Inc. v. [24]7.AI, Inc., 2018 WL 6257460
             8   (N.D. Cal. Nov. 30, 2018), is instructive. There, the plaintiff’s damages expert
             9   predicated his opinions on the assumption that defendant misappropriated all 28
           10    alleged trade secrets. See id. at *2. The defendant moved to exclude the expert’s
           11    opinion because the plaintiff only planned on presenting 15 of the 28 secrets in the
           12    upcoming trial. Id. The expert attempted to work around this fact by awarding
           13    damages pro rata based on the number of secrets misappropriated. Id. The court
           14    excluded his opinions because he failed to “apportion trade secret misappropriation
           15    damages among particular alleged trade secrets, and offer[ed] no methodology for the
           16    jury to calculate trade secret misappropriation damages on fewer than all of the 28
           17    alleged trade secrets in this case.” Id.; see also 02 Micro Int’l Ltd. v. Monolithic
           18    Power Sys., Inc., 399 F. Supp. 2d 1064, 1077 (N.D. Cal. 2005) (granting JMOL in
           19    defendant’s favor where Plaintiffs’ damages expert provided damages calculations
           20    assuming all trade secrets were misappropriated and jury found only one resulted in
           21    defendant’s enrichment).
           22          Second, Kinrich does not distinguish between or among the alleged harms from
           23    disclosure, use, or acquisition. As a preliminary matter, Kinrich does not offer any
           24    opinion that Plaintiffs suffered from Apple’s purported disclosure of any alleged
           25    secrets. Ex. 6 at 96:8-11. Putting disclosure aside, Kinrich fails to consider any
           26    alleged use of the purported trade secrets. See Ex. 6 at 73-77 (admitting he did not
           27    consider “                                                                     ”). This
           28
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             1   approach is unreliable because it assumes that the form of misappropriation is
             2   irrelevant, even though Kinrich assessed damages on a per use basis. Each of
             3   Kinrich’s lost profits and unjust enrichment calculations vary based on the number of
             4   Apple Watches sold. But according to Kinrich
             5                                                  ” his calculations remain the same. Ex. 6
             6   at 76:23-77:2. This opinion ignores legal requirements of causation and defies
             7   common sense. See, e.g., Bladeroom Group Ltd. v. Emerson Elec. Co., 20 F.4th 1231,
             8   1250 (9th Cir. 2021) (Rawlinson, J., concurring) (“It is not sufficient for the damages
             9   expert to attribute the entire value of the sale of [the defendant’s] division to the
           10    misappropriation of Bladeroom’s trade secrets” because the “division had business and
           11    value that did not involve use of the misappropriated trade secrets”).
           12          As just one example, Kinrich’s alternative theory of unjust enrichment estimates
           13    profits attributable to the Blood Oxygen and ECG features in Apple Watch Series 6
           14    and Series 7. Ex. 4 ¶¶146-165. Under Kinrich’s approach, if any alleged technical
           15    secret is found to be misappropriated, Plaintiffs are entitled to all profits attributable to
           16    the Blood Oxygen feature, even if there is no allegation of Apple using the purported
           17    secret in connection with that feature or otherwise. Id. ¶164; Ex. 6 at 234:3-236:15.
           18    Kinrich similarly opines that profits attributable to the ECG feature are owed if Apple
           19    is found to have misappropriated any purported non-technical trade secret—again,
           20    regardless of whether Apple used the secret in connection with the marketing of the
           21    ECG feature or otherwise. Ex. 4 ¶164; Ex. 6 at 245:9-246:13.
           22          Kinrich’s lost profits and “cost savings” unjust enrichment opinions fare no
           23    better. As discussed above, both are premised on a “but for” world in which Apple
           24    purchases sensing modules from Masimo in lieu of the one it actually developed. But
           25    according to Kinrich, the same opinions would apply even if the secrets found to be
           26    misappropriated are used neither by Apple nor in Masimo’s hypothetical module.
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             1         Because these opinions fail to consider the requisite for a causal link between
             2   the alleged misappropriation and the harm or unjust enrichment calculations, they
             3   cannot pass muster under Daubert.
             4                                       CONCLUSION
             5         For the foregoing reasons, the Court should grant Apple’s motion to exclude
             6   Kinrich’s (1) lost profits and unjust enrichment “cost savings” opinions because they
             7   rely on previously stricken materials and were untimely; and (2) lost profits and both
             8   unjust enrichment opinions because they are unreliable.
             9
           10    Dated: January 9, 2023                Respectfully submitted,

           11
           12                                          MARK D. SELWYN
                                                       AMY K. WIGMORE
           13                                          JOSHUA H. LERNER
           14                                          SARAH R. FRAZIER
                                                       NORA Q.E. PASSAMANECK
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           23                                          By: /s/ Mark D. Selwyn
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           24
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                                                       Attorneys for Defendant Apple Inc.
           26
           27
           28
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             1                            CERTIFICATE OF COMPLIANCE
             2         The undersigned, counsel of record for Defendant Apple, Inc., certifies that this
             3   brief contains 6,468 words, which [choose one]:
             4         X complies with the word limit of L.R. 11-6.1
             5            complies with the word limit set by court order dated [date].
             6
             7   Dated: January 9, 2023                Respectfully submitted,

             8
             9                                         MARK D. SELWYN
                                                       AMY K. WIGMORE
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           20                                          By: /s/ Mark D. Selwyn
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